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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

DAKOTA HOLT,                           )
                                       )
      Plaintiff,                       )
                                       )      CIVIL ACTION
v.                                     )
                                       )      FILE No. 1:20-cv-03355-TCB
STAR CANTON INC and                    )
K&M INTER PRIDE LLC,                   )
                                       )
      Defendants.                      )

     ORDER APPROVING CONSENT DECREE AND DISMISSAL OF
               DEFENDANTS WITH PREJUDICE

      The Court, having read and reviewed the parties’ Joint Stipulation and the

Consent Decree attached to the Joint Stipulation as Exhibit “A,” and for good cause

shown, the Joint Stipulation to Approve Consent Decree and Dismiss with Prejudice

is GRANTED. The Court shall retain jurisdiction to enforce the Consent Decree,

the terms of which are incorporated into the foregoing Order. Each party shall bear

their own attorney’s fees and costs except as detailed in the parties’ Consent Decree.

      SO ORDERED, this 10th day of November, 2020.




                                       Hon. Timothy C. Batten, Sr.
                                       United States District Judge
